   Case 1:01-cv-12257-PBS Document 6528-101 Filed 09/22/09 Page 1 of 4




                             Exhibit 100



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
             Case 1:01-cv-12257-PBS Document 6528-101 Filed 09/22/09 Page 2 of 4
NE Dept of Health and Human Services (Gary Cheloha)                                 December 2, 2008
                                             Lincoln, NE

                                                                                         Page 1
                    IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MASSACHUSETTS

       -----------------------------------X

       IN RE:    PHARMACEUTICAL INDUSTRY              )

       AVERAGE WHOLESALE PRICE LITIGATION ) MDL No. 1456

       -----------------------------------) Civil Action

       THIS DOCUMENT RELATES TO:                      ) No. 01-12257-PBS

       United States of America, ex. rel. ) Hon. Patti Saris

       Ven-a-Care of the Florida Keys,                )

       Inc., v. Dey, Inc., et. al., Civil )

       Action No. 05-11084-PBS; and United)

       States of America, ex. rel.                    ) December 2, 2008

       Ven-a-Care of the Florida Keys,                ) 8:57 a.m.

       Inc., v. Boehringer Ingleheim                  )

       Corp. et. al., Civil Action                    )

       No. 07-10248-PBS.                              ) VOLUME I

       -----------------------------------X

       Deposition of THE NEBRASKA DEPT. OF HEALTH AND HUMAN

       SERVICES by GARY CHELOHA, taken by Defendants, pursuant

       to Notice, held at the Cornhusker Hotel, Lincoln, Nebraska,

       before Shana W. Spencer, a Certified Shorthand Reporter

       and Notary Public of the State of Nebraska.




                          Henderson Legal Services, Inc.
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NE Dept of Health and Human Services (Gary Cheloha)                             December 2, 2008
                                             Lincoln, NE

                                                                                     Page 2
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           Attorney for Plaintiff
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                               BY:       MATTHEW DUNNING, ESQUIRE
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 21

 22
           (CONTINUED)

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             Case 1:01-cv-12257-PBS Document 6528-101 Filed 09/22/09 Page 4 of 4
NE Dept of Health and Human Services (Gary Cheloha)                             December 2, 2008
                                             Lincoln, NE

                                                                                 Page 257
   1
                     Q.        Okay.         And do you know, did -- what did
   2
           Nebraska do with the list of DOJ AWPs?
   3
                               MR. DUNNING:           Object to form.
   4
                               THE WITNESS:           In the follow-up survey,
   5
           I was asked that question, and I then reviewed
   6
           the pricing.                Some of these already had state MAC
   7
           or FUL prices on them, some setting the AWP
   8
           within this overall system that the State was
   9
           using and then, using the discounting algorithm,
 10
           would have resulted in prices below cost.
 11
                               And I know that implementing -- in the
 12
           point-of-sale system that we had, there was not a
 13
           practical way to implement just these 400 without
 14
           a major change in our computer processing logic
 15
           and the contract -- well, I'll just say with the
 16
           computer processing system that was in place.
 17
                                         (Exhibit Dey 923 was marked for
 18
           identification.)
 19
                     Q.        (BY MS. LORENZO)            You mentioned a
 20
           conversation or interview.                      I'm going to hand you
 21
           what we're going to mark as Dey Exhibit 923 which
 22
           is a record of an interview from a medication

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